       Case 1:24-cv-03308-LLA     Document 1     Filed 11/21/24   Page 1 of 8




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


 NATIONAL STUDENT LEGAL
 DEFENSE NETWORK,
 1701 Rhode Island Avenue, NW
 Washington, D.C. 20036

                  Plaintiff,

 v.                                                     Case No. 24-cv-3308

                                                            COMPLAINT

 U.S. DEPARTMENT OF EDUCATION,
 400 Maryland Avenue, SW
 Washington, D.C. 20202

                 Defendant.


                                INTRODUCTION

      1.     Plaintiff National Student Legal Defense Network (“Student Defense”)

brings this action against the United States Department of Education

(“Department”) under the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”), and

the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, seeking declaratory and

injunctive relief to compel compliance with the requirements of FOIA.

                          JURISDICTION AND VENUE

      2.     This Court has jurisdiction over this action pursuant to 5 U.S.C.

§ 552(a)(4)(B) and 28 U.S.C. §§ 1331, 2201, and 2202.

      3.     Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1391(e).
       Case 1:24-cv-03308-LLA      Document 1     Filed 11/21/24   Page 2 of 8




      4.     Because the Department has failed to comply with the applicable time-

limit provisions of FOIA, Student Defense is deemed to have exhausted its

administrative remedies pursuant to 5 U.S.C. § 552(a)(6)(C)(i) and is now entitled to

judicial action enjoining the agency from continuing to withhold agency records and

ordering the production of agency records improperly withheld.

                                       PARTIES

      5.     Plaintiff Student Defense is a nonpartisan, non-profit organization

incorporated in the District of Columbia. Student Defense’s mission is to work,

through a variety of means, to advance students’ rights to educational opportunity

and ensure that higher education provides a launching point for economic mobility.

To further its mission, Student Defense gathers information—including through

responses to FOIA requests submitted to government agencies—to inform the

public via, inter alia, its website, social media, press releases and other comments to

the media, and regulatory comments to government agencies.

      6.     Defendant U.S. Department of Education (“The Department”) is a

department of the executive branch of the United States government headquartered

in Washington, D.C. and an agency of the federal government within the meaning of

5 U.S.C. § 552(f)(1). The Department has possession, custody, and control of the

records that Student Defense seeks.

                             STATEMENT OF FACTS

      7.     The Office of Hearings and Appeals (“OHA”) within the Department

hears cases arising under Title IV of the Higher Education Act. As stated by OHA

on its website, these cases include:


                                          2
       Case 1:24-cv-03308-LLA       Document 1      Filed 11/21/24    Page 3 of 8




           actions initiated by the U.S. Department of Education to terminate
           the eligibility of institutions to participate in the Title IV, HEA
           programs; actions to fine institutions; audit and program review
           actions to recover allegedly misspent funds; emergency actions to
           immediately suspend funding of such institutions; and actions to
           debar certain individuals from participating in various programs
           government-wide.1

      8.      Although OHA decisions are published, as are decisions of the

Secretary, the Department does not list pending cases or make filings available to

the general public. Therefore, the details surrounding actions initiated against

institutions, or actions by the Department subject to an appeal, are not accessible to

students of these schools, or other members of the public.

      9.      On October 31, 2023, the Department sent a Letter to Grand Canyon

University (“GCU”) detailing various improprieties and misrepresentations made at

the university since at least 2017.2 As a result, the Department imposed a fine

action of $37,735,000 on GCU, pursuant to 20 U.S.C. § 1094(c)(1)(F), 34 C.F.R. §

668.84, and 34 C.F.R. § 668.71(a)(4).3

      10.     GCU announced on November 16, 2023 that it notified the Department

that GCU would be appealing the fine action.4




1 Office of Hearings and Appeals, Home, U.S. DEPARTMENT OF EDUCATION,

https://oha.ed.gov/.
2 See Letter from Susan D. Crim, Dir. at Admin. Actions and Appeals Serv. Grp., U.S. Dep’t

of Educ. to Mr. Brian Mueller, President, Grand Canyon Univ. and Steven M. Gombos,
Gombos & Leyton P.C, https://www.ed.gov/sites/ed/files/policy/gen/leg/foia/grand-canyon-
university-10-31-23-redacted.pdf?utm_content=.
3 Id.
4 See Grand Canyon University appeals unprecedented decision, record fine from U.S.

Department of Education, GCU News (Nov. 16, 2023), https://news.gcu.edu/gcu-news/grand-
canyon-university-appeals-unprecedented-decision-record-fine-from-u-s-department-of-
education/.


                                            3
       Case 1:24-cv-03308-LLA      Document 1      Filed 11/21/24   Page 4 of 8




      FOIA Request:

      11.    On October 3, 2024, Student Defense submitted FOIA Request No. 25-

00216-F for: 1) all documents, including but not limited to, briefs and supporting

exhibits that have been filed in connection with any administrative action

submitted by GCU, or an agent of GCU, in response to the Letter to OHA; and 2) all

documents, including but not limited to, briefs and supporting exhibits that have

been filed in connection with any administrative action submitted by the

Department in response to the Letter to OHA.

      12.    On October 4, 2024, the Department acknowledged receipt of the

Request and assigned tracking number 25-00216-F to the Request.

      13.    On October 16, 2024, the Department updated the status of the

Request to “In Process.”

      14.    On November 4, 2024, Student Defense received a 20 Day Status

Notification letter from the Department stating that the Request “was forwarded to

the appropriate office(s) within the Department to conduct a search for any

responsive records. At this time, your request is still being processed.”

      15.    On November 12, 2024, Student Defense requested a status update.

      16.    On November 15, 2024, Student Defense received a response to the

status update request stating that the Request is “currently under processing

review.”

      17.    Student Defense has not received any further communication from the

Department regarding this Request.




                                           4
       Case 1:24-cv-03308-LLA       Document 1     Filed 11/21/24   Page 5 of 8




Exhaustion of Administrative Remedies

      18.    As of the date of this complaint, the Department has failed to: (a) notify

Student Defense of any determination regarding the Request, including the scope of

any responsive records the Department intends to produce or withhold and the

reasons for any withholdings; or (b) produce the requested records or demonstrate

that the requested records are lawfully exempt from production.

      19.    Through the Department’s failure to respond to the Request within the

period required by law, Student Defense has constructively exhausted its

administrative remedies and seeks immediate judicial review.

      20.    The Department’s delay stands in stark contrast to the recently stated

policy of the United States that the “[t]imely disclosure of records is … essential to

the core purpose of FOIA,” and that agencies should approach FOIA requests with a

“presumption of openness.” See U.S. Attorney General Merrick Garland,

Memorandum for Heads of Executive Departments and Agencies: Freedom of

Information Act Guidelines at 1, 2–3 (March 15,

2022), https://www.justice.gov/ag/page/file/1483516/download.

                                  COUNT I
                      Violation of FOIA, 5 U.S.C. § 552
        Failure to Conduct Adequate Search for Responsive Records

      21.    Student Defense repeats the allegations in the foregoing paragraphs

and incorporates them as though fully set forth herein.

      22.    Student Defense properly requested records within the Department’s

possession, custody, and control.




                                           5
       Case 1:24-cv-03308-LLA     Document 1     Filed 11/21/24     Page 6 of 8




      23.    The Department is an agency subject to FOIA and must therefore

make reasonable efforts to search for requested records.

      24.    The Department has failed to promptly review agency records for the

purpose of locating those records that are responsive to the FOIA Request.

      25.    The Department’s failure to conduct adequate searches for responsive

records violates FOIA.

      26.    Student Defense is therefore entitled to injunctive and declaratory

relief requiring the Department to promptly make reasonable efforts to search for

records responsive to the FOIA Request.

                                COUNT II
                     Violation of FOIA, 5 U.S.C. § 552
         Wrongful Withholding of Non-Exempt Responsive Records

      27.    Student Defense repeats the allegations in the foregoing paragraphs

and incorporates them as though fully set forth herein.

      28.    Through the FOIA Request, Student Defense properly requested

records within the Department’s possession, custody, and control.

      29.    The Department is an agency subject to FOIA and must therefore

release any non-exempt records in response to the FOIA Request and provide a

lawful reason for withholding any materials.

      30.    By failing to produce documents responsive to the FOIA Request, the

Department is wrongfully withholding non-exempt agency records.

      31.    The Department’s failure to provide all non-exempt responsive records

violates FOIA.




                                          6
          Case 1:24-cv-03308-LLA    Document 1      Filed 11/21/24    Page 7 of 8




      32.      Student Defense is therefore entitled to declaratory and injunctive

relief requiring the Department to promptly produce all non-exempt records

responsive to the FOIA Request and provide indexes justifying the withholding of

any responsive records withheld under claim of exemption.

                               REQUESTED RELIEF

WHEREFORE, Student Defense respectfully requests the Court to:

      1.       Order the Department to conduct searches reasonably calculated to

locate all records responsive to the FOIA Request;

      2.       Order the Department to produce, within twenty days of the Court’s

order, or by such other date as the Court deems appropriate, any and all non-

exempt records responsive to the FOIA Request and indexes justifying the

withholding of any responsive records withheld under claim of exemption;

      3.       Enjoin the Department from continuing to withhold any and all non-

exempt records responsive to the FOIA Request;

      4.       Award Student Defense the costs of this proceeding, including

reasonable attorneys’ fees and other litigation costs reasonably incurred in this

action, pursuant to 5 U.S.C. § 552(a)(4)(E); and

      5.       Grant Student Defense such other relief as the Court deems just and

proper.

Dated: November 21, 2024                       Respectfully submitted,

                                               /s/Chris Bryant
                                               Chris Bryant
                                               D.C. Bar No. 1673495




                                           7
Case 1:24-cv-03308-LLA   Document 1     Filed 11/21/24   Page 8 of 8




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                               8
